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                            UNITED STATES DISTRICT COURT
                               DISTRICT OF MINNESOTA


MARY DAVIS, MAUREEN COLLIER,                  Civil Action No. 14-cv-00203
and THE POLICE RETIREMENT                     (PAM-JJK)
SYSTEMS OF ST. LOUIS, Derivatively
on behalf of TARGET CORPORATION,

               Plaintiff,
       v.                                          LR 7.1(F) CERTIFICATE OF
                                                   COMPLIANCE REGARDING
GREGG W. STEINHAFEL, BETH M.                        MEMORANDUM OF LAW
JACOB, JAMES A. JOHNSON, JOHN                     OF THE SPECIAL LITIGATION
MULLIGAN, ANNE M. MULCAHY,                            COMMITTEE OF THE
ROXANNE S. AUSTIN, CALVIN                          BOARD OF DIRECTORS OF
DARDEN, MARY E. MINNICK,                           TARGET CORPORATION IN
DERICA W. RICE, JOHN G. STUMPF,                  SUPPORT OF ITS MOTION FOR
DOUGLAS M. BAKER, JR., HENRIQUE                   APPROVAL AND DISMISSAL
DE CASTRO, KENNETH L. SALAZAR,
and SOLOMON D. TRUJILLO,

               Defendants,

            - and-

TARGET CORPORATION, a Minnesota
corporation,

               Nominal Defendant.



TO:    ALL PARTIES AND THEIR COUNSEL OF RECORD:

       I, Steve Gaskins, certify that the Memorandum of Law of the Special Litigation

Committee of the Board of Directors of Target Corporation in Support of its Motion for

Approval and Dismissal complies with Local Rule 7.1(f).
    CASE 0:14-cv-00203-PAM-BRT Document 59-1 Filed 05/06/16 Page 2 of 2



         I further certify that, in preparation of the above document, I used Microsoft Word

2010 and that this word processing program has been applied specifically to include all

text, including headings, footnotes, and quotations in the following word count.

         I further certify that the above document contains the following number of words:

6,551.



Dated: May 6, 2016                  GASKINS BENNETT BIRRELL SCHUPP, LLP


                                    /s/ Steve Gaskins
                                    Steve Gaskins, MN. #147643
                                    Daniel P. Brees, MN #395284
                                    Ian S. Birrell, MN #396379
                                    333 South Seventh Street, Suite 3000
                                    Minneapolis, MN 55402
                                    Phone: 612.333.9500
                                    Fax: 612.333.9579
                                    sgaskins@gaskinsbennett.com
                                    dbrees@gaskinsbennett.com
                                    ibirrell@gaskinsbennett.com

                                    Attorneys for the Special Litigation Committee of Target
                                    Corporation’s Board of Directors
